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IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES SECURITIES AND
EXCHANGE COMMISSlON, CORRECTED MOTION FOR
ADMISSION PRO HAC VICE

Plaintiffs,
vs.
CASE NO: l:l?-cv-04179-DLC
ALPINE SECURlTlES CORPORATION,

Def`endants.

 

 

Pursuant to Rule 1.3 of the Local Rules of the United States Court for the Southern Districts
of New York, Mark L. Smith hereby moves this Court for an order for admission to practice pro
hac vice, and to appear as counsel for Alpine Securities Corporation in the above-captioned

action.
l am in good standing with the bars of California and Utah and there are no pending
disciplinary proceedings against me in any state or federal court. l have never been convicted of

a feiony. l have never been censured, suspended, disbarred, or denied admission or readmission

by any court.

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ln accordance with Local Rule 1.3, and filed concurrently herewith are my aft`idavit,

certificates of good standing for Calit`ornial and Utah,2 and proposed order,3

DATED: August 22, 2017

 

l See attached “Exhibit A”
2 See attached “Exhibit B”
3 See attached “Exhibit C”

{00032057 1 }

RESPECTFULLY SUBM|TTED,

¢/Az ;./£L

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CERTIFICATE OF SERVICE

I hereby certify that on August 22, 2017, the foregoing CORRECTED MOTION FOR
ADMISSION PRO HAC VICE was served upon the person(s) named below, at the address Set
out below by CM/ECF:

Terry Ryan Miller

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